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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO




      UNITED STATES OF AMERICA,
                Plaintiff                          CIVIL NO.: 19-

                        v.

       FUNDS IN THE AMOUNT OF
   $53,082,824.19.00 IN U.S. CURRENCY,
    CONTAINED IN THE FOLLOWING
   ACCOUNTS UNDER THE NAME OF
  BANCO SAN JUAN INTERNATIONAL:
      a) xxx-x7689 – MERRILL LYNCH
           ADDRESS: #15 SECOND ST.,
           SUITE 210, GUAYNABO, PR
           00968, UP TO $10,000,000.00;

       b) xxx-x7059 – MERRILL LYNCH
           ADDRESS: 225 LIBERTY ST.,
          41ST FL, NEW YORK, NY 10281,
             UP TO $5,000,000.00; AND

       c) FEDERAL RESERVE BANK OF
          NEW YORK ACCOUNT # xxxx-
           x228-6, UP TO $38,082,824.19,

                   Defendant



              UNITED STATES OF AMERICA’S MOTION TO RESTRICT
                      OR SEAL UNSWORN DECLARATION

TO THE HONORABLE COURT:

       COMES NOW, the United States of America, by and through its undersigned attorneys,

and files this motion to restrict an Unsworn Declaration Under Penalty of Perjury (“Unsworn

Declaration”) attached to the United States of America’s Complaint for Forfeiture in Rem:


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       The United States filed a Complaint for Forfeiture in Rem. In compliance with the

requirements of this Court’s Standing Order No. 9, dated January 30, 2013, the United States

requests that the Unsworn Declaration be accepted by the Court for filing with the following level

of restriction: Ex-Parte: Limiting viewing to the attorney filing the document and the Court.

       The United States is filing the referred document with the requested level of restriction,

insofar as said Unsworn Declaration reveals information that may adversely affect an ongoing

criminal investigation.

       WHEREFORE, the United States respectfully prays the Court accept and file the

Unsworn Declaration under the requested restriction level, and that an ORDER issue directing that

the Unsworn Declaration to remain under such restriction level until further order by the Court.

       RESPECTFULLY SUBMITTED,

       In San Juan, Puerto Rico, this 27th day of September 2019.

                                                    ROSA EMILIA RODRIGUEZ-VELEZ
                                                    United States Attorney

                                                    s/David O. Martorani-Dale
                                                    David O. Martorani-Dale
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